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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

BENTON ENERGY SERVICE COMPANY §
dba BESCO TUBULAR             §                             CIVIL ACTION NO. 2:18-CV-05630
                              §
      Plaintiffs,             §
                              §                             JUDGE: JAY C. ZAINEY
      vs.                     §
                              §
CAJUN SERVICES UNLIMITED, LLC §                             MAGISTRATE JUDGE:
dba SPOKED MANUFACTURING      §                               JOSEPH C. WILKINS, JR.
                              §
      Defendant.              §


     DEFENDANT CAJUN SERVICES UNLIMITED, LLC DBA SPOKED
MANUFACTURING’S MEMORANDUM IN SUPPORT OF ITS MOTION TO DISMISS
      PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1)


       NOW INTO COURT, through undersigned counsel, comes Defendant Cajun Services

Unlimited, LLC dba Spoked Manufacturing (“Cajun”), who respectfully files this memorandum

in support of its Motion to Dismiss Benton Energy Service Company dba Besco Tubular’s

(“Besco”) Complaint pursuant to Federal Rule of Civil Procedure 12(b)(1) (the “Motion”) for lack

of federal subject matter jurisdiction, and states as follows:

I.     INTRODUCTION

       In an admitted attempt to steal the “plaintiff’s chair” Cajun has occupied since litigation

between the parties began in January 2017, Besco filed its Complaint the day before the ’862

Patent issued. Well over 100 years of legal authority makes clear that a complaint involving the

infringement and validity of a patent filed before the issuance of that patent suffers from an

incurable defect in standing. Cajun made Besco aware of this fact and requested that it dismiss its

claims in good faith and refile them in Cajun’s properly filed action. Despite no legal or factual

basis for maintaining its claims, Besco has refused to dismiss its complaint and forced Cajun to


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expend valuable resources filing this Motion. Cajun respectfully requests that the Court dismiss

Besco’s claims, which Besco will have ample opportunity to refile in Cajun’s properly filed

lawsuit.

II.     FACTUAL BACKGROUND

        Besco filed this lawsuit (“Besco’s Lawsuit”) on June 4, 2018, asserting declaratory

judgment claims of non-infringement, invalidity, and unenforceability with respect to a patent that

did not exist. (Rec. Doc. 1.) Rather, Besco likely gleaned the patent number and issue date from

the Issue Notification issued by the United States Patent and Trademark Office (“USPTO”) on

May 16, 2018, attached hereto as Exhibit A. The following day Cajun was issued United States

Patent No. 9,988,862 (“the ’862 Patent”), attached hereto as Exhibit B. Cajun filed a lawsuit on

June 14, 2018, Case No. 2:18-cv-05932 (“Cajun’s Lawsuit”), asserting a cause of action for

Besco’s willful direct and indirect infringement of the ’862 Patent, as well as each of its causes of

action asserted in Case No. 2:17-cv-00491 (the “First Litigation”). Cajun informed the Court and

Besco of the incurable standing defect upon which this Motion is premised on June 15, 2018.

(First Litigation, Rec. Doc. 137, ¶ 10.)

        On the same day, Cajun requested that Besco dismiss its Complaint in good faith in view

of that standing defect. Besco responded on June 20, 2018, refusing to dismiss its claims and

claiming that a recent Federal Circuit decision that expanded declaratory judgment jurisdiction

provided the basis for its standing to pursue its claims. Cajun responded the following day, laying

out the deficiency in Besco’s theory of standing—the same deficiency set forth in this Motion—

and provided Besco with notice that it would seek an award of its fees pursuant to 35 U.S.C. § 285

in view of Besco’s exceptional litigation position. See Stone Basket Innovations, LLC v. Cook

Med. LLC, 892 F.3d 1175, 1181 (Fed. Cir. 2018) (suggesting that “early, focused, and supported

notice of its belief that it was being subjected to exceptional litigation behavior” may be required


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by a litigant in order to later seek an award of its fees pursuant to 35 U.S.C. § 285). Besco

responded by repeating its reliance on the same authority, seemingly contending the Declaratory

Judgment Act is its basis for federal subject matter jurisdiction. Finally, Cajun responded by

challenging Besco to provide any legal authority holding that federal subject matter jurisdiction

could exist over patent claims filed before the patent was issued by the USPTO. Besco did not

respond.

III.     LEGAL AUTHORITY

         A.     Rule 12(b)(1) Standard

         “Motions filed under Rule 12(b)(1) of the Federal Rules of Civil Procedure allow a party

to challenge the subject matter jurisdiction of the district court to hear a case.” Ramming v. United

States, 281 F.3d 158, 161 (5th Cir. 2001). “In a 12(b)(1) motion, the party asserting jurisdiction

bears the burden of proof that jurisdiction does in fact exists.” Brown v. Am. Modern Home Ins.

Co., No. 16-16289, 2017 U.S. Dist. LEXIS 80057, at *6 (E.D. La. May 24, 2017) (citing Ramming,

281 F.3d at 161). Under Article III of the Constitution of the United States, a litigant must have

constitutional standing to invoke federal subject matter jurisdiction. Allen v. Wright, 468 U.S. 737,

750 (1984). “Absent Article III standing, a federal court does not have subject matter jurisdiction

to address a plaintiff’s claims, and the claim must be dismissed.” Brown, 2017 U.S. Dist. LEXIS

80057 at *7 (citing U.S. Const. art. 3, § 2, cl. 1).

         A Rule 12(b)(1) motion for dismissal “can be predicated upon either a ‘facial’ attack, or a

‘factual’ attack to jurisdiction. Consol. Grain & Barge, Inc. v. Anny, No. 11-2204, 2013 U.S. Dist.

LEXIS 16061, at *10–11 (E.D. La. Feb. 5, 2013). This Court previously described the differences

between a facial and factual attack as follows:

         A ‘facial attack’ on the complaint requires the court merely to look and see if
         plaintiff has sufficiently alleged a basis of subject matter jurisdiction, and the
         allegations in his complaint are taken as true for the purposes of the motion. A


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        ‘factual attack,’ however, challenges the existence of subject matter jurisdiction in
        fact, irrespective of the pleadings, and matters outside the pleadings, such as
        testimony and affidavits, are considered…[and] when a ‘factual’ attack to
        jurisdiction is raised no presumption of truthfulness attaches to the plaintiff’s
        allegations.

Id. at 11–12 (citations omitted).

        B.      Standing under the Declaratory Judgment Act in Patent Disputes

        The Declaratory Judgment Act provides that, “[i]n a case of actual controversy within its

jurisdiction…any court of the United States, upon the filing of an appropriate pleading, may

declare the rights and other legal relations of any interested party seeking such declaration, whether

or not further relief is or could be sought.” 28 U.S.C. § 2201(a) (emphasis added). “The phrase

‘case of actual controversy’ refers to the type of ‘Cases’ and ‘Controversies’ that are justiciable

under Article III.” Danisco US, Inc. v. Novozymes A/S, 744 F.3d 1325, 1329 (Fed. Cir. 2014)

(quoting MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007)). Thus, “the existence of

an actual controversy is an absolute predicate for declaratory judgment jurisdiction.” Spectronics

Corp. v. H.B. Fuller Co., 940 F.2d 631, 633–34 (Fed. Cir. 1991). The Declaratory Judgment Act

“does not enlarge the jurisdiction of the federal courts; it is procedural only.” Vaden v. Discover

Bank, 556 U.S. 49, 70 n.18 (2009). Finally, the burden to establish that an Article III case or

controversy existed at the time that the claim for declaratory relief was filed is on the party

claiming declaratory judgment jurisdiction. Danisco, 744 F.3d at 1329.

        With respect to patent disputes, “[i]t is well established that the exclusive rights conferred

by a United States patent do not take effect until the patent formally issues.” Jat Wheels, Inc. v.

DB Motoring Grp., Inc., No. CV 14-5097-GW(AGRx), 2016 U.S. Dist. LEXIS 191940, at *5

(C.D. Cal. Feb. 11, 2016) (citing GAF Bldg. Materials Corp. v. Elk Corp. of Dallas, 90 F.3d 479,

483 (Fed. Cir. 1996) (“Patent rights are created only upon the formal issuance of the patent[.]”)).

As a result, the Federal Circuit has consistently held that “a threat is not sufficient to create a case


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or controversy unless it is made with respect to a patent that has issued before a complaint is filed.”

GAF Bldg., 90 F.3d at 482; see also Radio Systems Corp. v. Lalor, 709 F.3d 1124, 1131 (Fed. Cir.

2013) (reversing summary judgment of noninfringement for lack of case or controversy because

the patent had not yet issued). Thus, where a patent has not issued at the time the complaint is

filed, a “declaratory judgment of ‘invalidity’ or ‘noninfringement’…would have…no legal

meaning or effect” and would therefore call for an impermissible advisory opinion. City State

Entm’t, LLC v. Lemay, No. 2:14-CV-329, 2014 U.S. Dist. LEXIS 193251, *6–7 (E.D. Va. Sep.

24, 2014) (quoting GAF Bldg., 90 F.3d at 482). This has been the state of the law for at least 140

years. See Hendrie v. Sayles, 98 U.S. 546, 551 (1878) (“[A]n inventor has no exclusive right to

make, use, and vend the improvement until he obtains a patent for the invention …nor can the

inventor maintain any suit for infringing the same before the patent is issued[.]”).

        Finally, “[l]ater events may not create jurisdiction where none existed at the time of filing.”

Spectronics, 940 F.2d at 635. Rather, “the presence or absence of jurisdiction must be determined

on the facts existing at the time the complaint under consideration was filed.” Arrowhead Indus.

Water, Inc. v. Ecolochem, Inc., 846 F.2d 731, 734 n.2 (Fed. Cir. 1988). Where the patent that

forms the basis of the dispute had not issued at the time a complaint was filed, the subsequent

issuance of the patent does not cure the jurisdictional defect. GAF Bldg., 90 F.3d at 483.

IV.     ARGUMENT

        The Court did not have subject matter jurisdiction to hear Besco’s claims at the time the

Complaint was filed because the basis for federal subject matter jurisdiction—Cajun’s patent

rights—did not exist at the time the Complaint was filed. It is indisputable that Cajun’s patent

rights did not come into existence until the ’862 Patent formally issued on June 5. GAF Bldg., 90

F.3d at 483. The Federal Circuit and district courts that have addressed the issue have consistently

held that the existence of those patent rights was necessary for there to be any Article III case or


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controversy regarding those rights. Id. at 482 (holding that no case or controversy exists unless

patent has issued prior to filing suit).1 Therefore, at the time of filing, Besco’s Complaint

necessarily sought an impermissible advisory opinion as to infringement and validity because

Cajun’s rights were purely hypothetical. City State Entm’t, 2014 U.S. Dist. LEXIS 193251 at *7.

Further, the fact that the patent issued the day after Besco filed its lawsuit does not cure the defect

in Besco’s standing to pursue its claims, as federal subject matter jurisdiction is determined based

upon the facts existing at the time the complaint was filed. GAF Bldg., 90 F.3d at 483.

         This legal reality is exactly why Cajun waited until after the patent issued to file its lawsuit.

If it was possible to file a claim for patent infringement before the issuance of a patent, Cajun

would have done so in the previous litigation between the parties, as the claims asserted in Cajun’s

Lawsuit were allowed on April 24, 2018 (but did not formally issue until June 5, 2018). See

Exhibit C. Cajun did not, however, because the Court would not have had subject matter

jurisdiction to hear the dispute as discussed above because the ’862 Patent did not exist until June

5, 2018. This fact is further demonstrated by the noticeable absence in Besco’s Complaint of any

allegations regarding the issue date of the ’862 Patent or inclusion of the ’862 Patent as an exhibit

to that Complaint.


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  See, e.g., Radio Sys. Corp., 709 F.3d at 1131 (“Quite simply, the…patent claims could not have been asserted…until
those claims issued”); Abbey v. Mercedes Benz of N. Am., Inc., 138 F. App'x 304, 307 (Fed. Cir. 2005) (“[a] patent
application cannot be infringed”); GAF Bldg., 90 F.3d at 482; Rooks v. P&G, Inc., No. 5:16-CV-553-CAR-MSH,
2017 U.S. Dist. LEXIS 51019, at *6 (M.D. Ga. Apr. 4, 2017); Jat Wheels, 2016 U.S. Dist. LEXIS 191940 at *5–6 (“It
is well established that the exclusive rights conferred by a United States patent do not take effect until the patent
formally issues.”); City State Entm’t, 2014 U.S. Dist. LEXIS 193251 at *7; Matthews Int'l, Corp. v. Biosafe Eng'g,
LLC, No. 11-269, 2011 U.S. Dist. LEXIS 110010, at *30–31 (W.D. Pa. Sep. 27, 2011); Ogindo v. DeFleur, No. 07-
CV-1322, 2008 U.S. Dist. LEXIS 97362, at *3 (N.D.N.Y. Dec. 1, 2008) (“There is no claim for patent infringement
unless a patent has issued.”); Chamilia, LLC v. Pandora Jewelry, LLC, No. 04-CV-6017 (KMK), 2007 U.S. Dist.
LEXIS 71246, at *62–65 (S.D.N.Y. Sep. 24, 2007); Dr. Reddy's Labs., Ltd. v. aaiPharamaInc., No. 01-CV-10102,
2002 U.S. Dist. LEXIS 17287, at *23 (S.D.N.Y. Sept. 13, 2002) (“It is axiomatic that [the plaintiff] cannot obtain a
declaratory judgment of invalidity and/or noninfringement on a patent that has not yet been issued by the PTO at the
time the complaint was filed.”); Eldridge v. Springs Indus., 882 F. Supp. 356, 357 (E.D.N.Y. 1995) (“It is well settled
that a patent cannot be infringed until after that patent has been issued.”); see also Black & Decker, Inc. v. Robert
Bosch Tool Corp., 371 F. Supp. 2d 965, 970–71 (N.D. Ill. 2005) (rejecting claim for declaratory judgment of patent
unenforceability that was filed before patent issued).


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        While a facial attack on Besco’s claims would suffice because the Court cannot have

subject matter jurisdiction under the circumstances before it, Cajun’s attack on Besco’s complaint

is necessarily a factual one. This is because Cajun relies on matters outside the pleadings—the

’862 Patent itself—as evidence of the patent’s issuance on June 5, 2018. While Besco’s Complaint

refers to the ’862 Patent throughout, it fails to include the patent itself as an exhibit. Of course,

the patent is not attached as an exhibit because it did not exist at the time Besco filed its complaint.

Instead, all that existed was an Issue Notification from the USPTO stating the date that the patent

would issue and the patent number it would issue as. See Exhibit A. Because Cajun relies on

evidence that is outside of the pleadings, its attack on Besco’s standing is a factual one, and Besco’s

allegations are not entitled to a “presumption of truthfulness” as they would be in the event of a

facial attack. Consol. Grain & Barge, 2013 U.S. Dist. LEXIS 16061 at *11–12.

        Cajun raised the issue of lack of subject matter jurisdiction in its June 15, 2018 Status

Report filed in the First Litigation. (First Litigation, Rec. Doc. 137.) Cajun also followed up with

Besco the same day by email, requesting that Besco dismiss its claims and refile them in Cajun’s

Lawsuit. Besco responded on June 20, 2018, refusing to dismiss its case and relying on the Federal

Circuit’s recent decision in Danisco US, Inc. v. Novozymes A/S. 744 F.3d 1325 (Fed. Cir. 2014).

Specifically, Besco relies on the Danisco Court’s holding that pre-patent issuance conduct may be

considered when determining whether a justiciable controversy exists for purposes of exercising

jurisdiction under the Declaratory Judgment Act. See id. at 1330–32. Thus, Besco’s position is

that the holding of Danisco allows a court to exercise federal subject matter jurisdiction over a

patent dispute before the patent issues so long as a patent holder’s pre-issuance conduct creates a

justiciable controversy.




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        Besco’s position flies in the face of Supreme Court and Federal Circuit precedent. The

Supreme Court recently reaffirmed its 1937 holding that the Declaratory Judgment Act “is

procedural only” and “does not enlarge the jurisdiction of the federal courts[.]” Vaden, 556 U.S.

at 70 n.18; see also Aetna Life Ins. Co. v. Haworth, 300 U.S. 227, 240 (1937) (“The operation of

the Declaratory Judgment Act is procedural only.”). The Danisco holding could not have disrupted

this 80-year-old Supreme Court precedent. Besco’s position also conflicts with binding Federal

Circuit precedent (which Cajun provided to Besco) holding that “the existence of an actual

controversy is an absolute predicate for declaratory judgment jurisdiction.” GAF Bldg., 90 F.3d

at 481 (quoting Spectronics, 940 F.2d 633–34). While Besco appears to believe the Danisco Court

implicitly overruled this holding, the Court need only look to the Danisco decision itself to confirm

that the Danisco decision recognizes that “[t]he phrase ‘case of actual controversy’ refers to the

type of ‘Cases’ and ‘Controversies’ that are justiciable under Article III.” Danisco, 744 F.3d at

1329 (quoting MedImmune, 549 U.S. at 127).

        Notably, the Danisco Court cites to the portion of the Supreme Court’s MedImmune

opinion that relies on the Supreme Court’s landmark Aetna decision that originally held that the

Declaratory Judgment Act is not a source of federal subject matter jurisdiction. That exact holding

of Aetna serves as the basis of the Federal Circuit’s GAF decision which Besco now contends is

overruled by Danisco. Thus, the Danisco decision did not disrupt Supreme Court and Federal

Circuit authority requiring that (1) an actual Article III controversy is an “absolute predicate” to

declaratory judgment jurisdiction and (2) an actual Article III controversy with respect to patent

rights necessarily cannot exist until those patent rights exist. The several post-Danisco decisions

holding the same confirm as much.2 Rather, the Danisco decision holds that pre-issuance conduct


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 See Rooks, 2017 U.S. Dist. LEXIS 51019 at *6; Jat Wheels, 2016 U.S. Dist. LEXIS 191940 at *5–6; City State
Entm’t, 2014 U.S. Dist. LEXIS 193251 at *7.


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can be considered when weighing the totality of the circumstances in determining whether

declaratory judgment jurisdiction can be exercised—a holding that is entirely inapposite to the

incurable defect in Besco’s standing.

       Further, Besco’s reliance on the Danisco decision and refusal to dismiss its claims

demonstrates exceptional conduct under the circumstances, as the decision provides Besco no basis

in law and fact for maintaining that it has standing to pursue its claims. Nor does the decision

allow Besco to make a good faith argument for an extension, modification or reversal of existing

law. Rather, the Danisco decision confirms in some respects, and does not discuss in other

respects, the binding precedent Cajun provided Besco with when it initially requested that Besco

dismiss its claims in good faith.

       The Supreme Court recently revisited the Patent Act’s fee-shifting provision, 35 U.S.C. §

285, and held that exceptional conduct such as Besco’s warrants an award of Cajun’s fees incurred

in having to litigate baseless claims. Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S.

Ct. 1749, 1756 (2014). This District recently held that “an exceptional case is one where (1) in

considering both governing law and the facts of the case, the case stands out from others with

respect to the substantive strength of a party’s litigation position; or (2) the unsuccessful party has

litigated the case in an unreasonable manner.” All. for Good Gov’t v. Coal. for Better Gov’t, No.

17-3679, 2018 U.S. Dist. LEXIS 106431, at *5 (E.D. La. June 26, 2018) (citing Octane Fitness,

134 S. Ct. at 1756).

       Besco’s reliance on the Danisco decision, both in the face of a wealth of other, binding

precedent and considering Danisco’s own holding as well, stands out as unreasonable and has

forced Cajun to expend resources moving to dismiss claims that should never have been filed.

Additionally, Cajun pointed out the shortcomings in Besco’s reliance on the Danisco decision to




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Besco and specifically challenged Besco to provide any case explicitly holding that a court can

have subject matter jurisdiction over a patent dispute filed before the patent in question issues.

Besco did not do so, opting to force Cajun to file its Motion instead. To the extent Besco has found

such authority and withheld it until it responds, doing so constitutes litigating in an unreasonable

manner. Based on the foregoing, if Besco’s claims are dismissed—as they must be—Cajun

reserves the right to pursue an award of its fees pursuant to 35 U.S.C. § 285.

V.      CONCLUSION

        Cajun respectfully requests the Court dismiss Besco’s claims without prejudice due to an

incurable lack of standing and provide Besco with an opportunity to refile such claims in Cajun’s

properly-filed lawsuit.

DATED: July 31, 2018                           Respectfully submitted,

                                       By:     /s/ Tori S. Bowling
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served on July 31, 2018 to all counsel of record who are deemed to have
consented to electronic service via the Court’s CM/ECF system.

                                             /s/ Tori S. Bowling
                                             Tori S. Bowling




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